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                                                                       EXECUTIVE ORDERS



            Executive Order on Addressing the Threat Posed by
                                 TikTok
                                                                  INFRASTRUCTURE & TECHNOLOGY

                                                                    Issued on: August 6, 2020


                                                                            ★ ★ ★
         By the authority vested in me as President by the Constitution and the laws of the United States of
         America, including the International Emergency Economic Powers Act (50 U.S.C. 1701 et seq.)
         (IEEPA), the National Emergencies Act (50 U.S.C. 1601 et seq.), and section 301 of title 3,
         United States Code,


         I, DONALD J. TRUMP, President of the United States of America, find that additional steps must be
         taken to deal with the national emergency with respect to the information and communications
         technology and services supply chain declared in Executive Order 13873 of May 15, 2019 (Securing
         the Information and Communications Technology and Services Supply Chain). Specifically, the
         spread in the United States of mobile applications developed and owned by companies in the
         People’s Republic of China (China) continues to threaten the national security, foreign policy, and
         economy of the United States. At this time, action must be taken to address the threat posed by
         one mobile application in particular, TikTok.


         TikTok, a video-sharing mobile application owned by the Chinese company ByteDance Ltd., has
         reportedly been downloaded over 175 million times in the United States and over one billion times
         globally. TikTok automatically captures vast swaths of information from its users, including Internet
         and other network activity information such as location data and browsing and search histories.
         This data collection threatens to allow the Chinese Communist Party access to Americans’ personal
         and proprietary information — potentially allowing China to track the locations of Federal


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         employees and contractors, build dossiers of personal information for blackmail, and conduct
         corporate espionage.


         TikTok also reportedly censors content that the Chinese Communist Party deems politically
         sensitive, such as content concerning protests in Hong Kong and China’s treatment of Uyghurs and
         other Muslim minorities. This mobile application may also be used for disinformation campaigns
         that benefit the Chinese Communist Party, such as when TikTok videos spread debunked
         conspiracy theories about the origins of the 2019 Novel Coronavirus.


         These risks are real. The Department of Homeland Security, Transportation Security
         Administration, and the United States Armed Forces have already banned the use of TikTok on
         Federal Government phones. The Government of India recently banned the use of TikTok and other
         Chinese mobile applications throughout the country; in a statement, India’s Ministry of Electronics
         and Information Technology asserted that they were “stealing and surreptitiously transmitting
         users’ data in an unauthorized manner to servers which have locations outside India.” American
         companies and organizations have begun banning TikTok on their devices. The United States must
         take aggressive action against the owners of TikTok to protect our national security.


         Accordingly, I hereby order:


         Section 1. (a) The following actions shall be prohibited beginning 45 days a er the date of this
         order, to the extent permitted under applicable law: any transaction by any person, or with respect
         to any property, subject to the jurisdiction of the United States, with ByteDance Ltd. (a.k.a. Zìjié
         Tiàodòng), Beijing, China, or its subsidiaries, in which any such company has any interest, as
         identified by the Secretary of Commerce (Secretary) under section 1(c) of this order.


         (b) The prohibition in subsection (a) of this section applies except to the extent provided by
         statutes, or in regulations, orders, directives, or licenses that may be issued pursuant to this order,
         and notwithstanding any contract entered into or any license or permit granted before the date of
         this order.


         (c) 45 days a er the date of this order, the Secretary shall identify the transactions subject to
         subsection (a) of this section.



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         Sec. 2. (a) Any transaction by a United States person or within the United States that evades or
         avoids, has the purpose of evading or avoiding, causes a violation of, or attempts to violate the
         prohibition set forth in this order is prohibited.


         (b) Any conspiracy formed to violate any of the prohibitions set forth in this order is prohibited.


         Sec. 3. For the purposes of this order:


         (a) the term “person” means an individual or entity;
         (b) the term “entity” means a government or instrumentality of such government, partnership,
         association, trust, joint venture, corporation, group, subgroup, or other organization, including an
         international organization; and


         (c) the term “United States person” means any United States citizen, permanent resident alien,
         entity organized under the laws of the United States or any jurisdiction within the United States
         (including foreign branches), or any person in the United States.


         Sec. 4. The Secretary is hereby authorized to take such actions, including adopting rules and
         regulations, and to employ all powers granted to me by IEEPA as may be necessary to implement
         this order. The Secretary may, consistent with applicable law, redelegate any of these functions
         within the Department of Commerce. All departments and agencies of the United States shall take
         all appropriate measures within their authority to implement this order.


         Sec. 5. General Provisions. (a) Nothing in this order shall be construed to impair or otherwise
         a ect:


         (i) the authority granted by law to an executive department, agency, or the head thereof; or


         (ii) the functions of the Director of the O ice of Management and Budget relating to budgetary,
         administrative, or legislative proposals.


         (b) This order shall be implemented consistent with applicable law and subject to the availability of
         appropriations.



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         (c) This order is not intended to, and does not, create any right or benefit, substantive or
         procedural, enforceable at law or in equity by any party against the United States, its departments,
         agencies, or entities, its o icers, employees, or agents, or any other person.


                                                                       DONALD J. TRUMP


         THE WHITE HOUSE,
         August 6, 2020.




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